       Case 8:18-cv-01099-JVS-JDE Document 37 Filed 04/08/19 Page 1 of 1 Page ID #:268
2 AO 121 (6/90)
TO:

                  Register of Copyrights                                                           REPORT ON THE
                  Copyright Office                                                         FILING OR DETERMINATION OF AN
                  Library of Congress                                                             ACTION OR APPEAL
                  Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                     COURT NAME AND LOCATION
        ✔ ACTION
        G                  G APPEAL                                   8QLWHG 6WDWHV 'LVWULFW &RXUW &HQWUDO 'LVWULFW RI &DOLIRUQLD
DOCKET NO.                      DATE FILED                            6RXWKHUQ 'LYLVLRQ
      FY                                          6DQWD $QD &DOLIRUQLD
PLAINTIFF                                                                         DEFENDANT
3	3 ,032576 //& D &DOLIRUQLD OLPLWHG OLDELOLW\                                    &(176 21/< 6725(6 //& D &DOLIRUQLD OLPLWHG
FRUSRUDWLRQ                                                                       OLDELOLW\ FRUSRUDWLRQ 020(1780 %5$1'6 ,1& D
                                                                                  &DOLIRUQLD FRUSRUDWLRQ DQG 180%(5 +2/',1*6 ,1& D
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1 7;                      3	3 ,PSRUWV  /RRNERRN                                                      3	3 ,032576 //&

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                         G Amendment                 G Answer               G Cross Bill             G Other Pleading
       COPYRIGHT
                                                            TITLE OF WORK                                                AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                       DATE RENDERED

            SG Order       G Judgment                                     G Yes        G No                                    ¢¦¢ª¤¢£«
CLERK                                                        (BY) DEPUTY CLERK                                              DATE

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